        Case 3:23-cv-03417-VC         Document 300         Filed 11/27/24     Page 1 of 14




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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     NOTICE OF MOTION AND MOTION FOR
   v.                                                LEAVE TO FILE THIRD AMENDED
                                                     CONSOLIDATED COMPLAINT
META PLATFORMS, INC.,

                                     Defendant.




                                 NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                      CASE NO. 3:23-cv-03417-VC
       Case 3:23-cv-03417-VC           Document 300         Filed 11/27/24   Page 2 of 14



                             NOTICE OF MOTION AND MOTION

    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE that on January 9, 2025, at 10:00 a.m., or as soon thereafter as

the parties may be heard, Plaintiffs will and hereby do move for leave to file a Third Amended

Consolidated Complaint (“TACC”) pursuant to Fed. R. Civ. P. 15(a)(2).

        Plaintiffs seek an order granting their Motion for Leave to File the TACC to add additional

causes of action based on the new evidence produced in discovery in recent weeks, and also to

update the allegations to reflect newer iterations of Meta’s Llama models that have been developed

since the date Plaintiffs filed prior iterations of their Complaint.

        Plaintiffs’ Motion is based on this Notice of Motion and Motion, all pleadings and papers

in this action, and any oral argument of counsel.




                                  NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                       CASE NO. 3:23-cv-03417-VC
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 3 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 4 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 5 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 6 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 7 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 8 of 14
         Case 3:23-cv-03417-VC          Document 300        Filed 11/27/24      Page 9 of 14



additional discovery. Indeed, these claims are premised entirely on documents already produced

and/or that will be produced anyway and deposition testimony already provided by Meta. See

Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 95927, at *3 (N.D. Cal. Jan. 3, 2019)

(permitting defendant to amend answer to add unclean hands defense after close of fact discovery

because refuting the new defense did not require additional discovery). Second, no new litigation

parties will be added.5 And finally, the amendments are based on Meta’s own documents and

testimony, and thus, are based on facts Meta already has knowledge of.

          In circumstances like this one, where the introduction of new claims was made in good

faith and prejudice is minimal, courts have granted motions to amend the complaint far into, and

even after, the fact discovery period. See Leines v. Homeland Vinyl Prods., Inc., 2020 WL

6044037, at *3–5 (E.D. Cal. Oct. 13, 2020) (granting leave to amend complaint after the close of

fact discovery where added claims did not appear to be brought in bad faith); Hansen Beverage

Co. v. Nat’l Beverage Corp., 2007 WL 9747720, at *2 (C.D. Cal. Feb. 12, 2007) (finding marginal

prejudice in allowing amendment of complaint a few weeks before fact discovery cut-off); Poe v.

Northwestern Mut. Life Ins. Co., 2023 WL 4155379, at *2 (C.D. Cal. Jan. 20, 2023) (granting

motion to amend complaint to define a broader proposed class when information relevant to the

class definition was learned during a deposition conducted deep into fact discovery).
          C.     Plaintiffs Did Not Delay in Moving for Leave to Amend.
          When evaluating undue delay, courts consider the length of time between discovery of the

need to amend and the date the amendment was filed. See Royal Ins. Co. of Am. v. Southwest

Marine, 194 F.3d 1009, 1016–17 (9th Cir. 1999) (“Late amendments to assert new theories are not

reviewed favorably when the facts and the theory have been known to the party seeking

amendment since the inception of the cause of action.”) (quotations omitted). However, the key

development warranting leave to amend is when new facts are discovered and promptly raised

with the court, see, e.g., Watson v. Ford Motor Co., 2018 WL 3869563, at *2 (N.D. Cal. Aug. 15,

2018) (six-month delay was not “undue” because, among other factors, the amending party “only


5
    Mr. Farnsworth was already added to this case, and already produced discovery.

                                                              MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                              CASE NO. 3:23-cv-03417-VC
                                                   7
      Case 3:23-cv-03417-VC            Document 300         Filed 11/27/24      Page 10 of 14



recently learned that [a new party] had not been named”), and the proposed amendment does not

simply “reassert an old theory of liability based on previously-known facts,” Royal Ins. Co, 194

F.3d at 1017. Here, Plaintiffs discovered new facts giving rise to and supporting their new causes

of action during the past few weeks, including key evidence obtained only this past week.

       Finally, the recent addition of Plaintiffs’ new interim lead counsel and new additional class

counsel militates against undue delay. Courts have addressed this very situation, finding, for

example, that even a five-month delay between discovery of new facts and seeking leave to file an

amended complaint was not undue “under the circumstances of this case” because, among other

reasons, “Plaintiff’s newly retained counsel filed the motion only two months after joining this

case.” Poe., 2023 WL 4155379 at *5. This mirrors the facts here, where Plaintiffs are moving for

leave to add their DMCA and CDAFA claims two months after new counsel was retained.
       D.      Plaintiffs Request Their First Substantive Amendment to the Complaint.
       Plaintiffs have not previously amended their complaint to introduce new substantive

claims. Plaintiffs’ First Amended Complaint updated Plaintiffs’ causes of action to remove

dismissed claims and also accounted for the intervening consolidation of the Chabon action. Dkt.

Nos. 66, 69. Plaintiffs’ Second Amended Complaint merely updated the set of named plaintiffs.

Dkt. No. 122-1. The current Motion therefore is Plaintiffs’ first attempt to re-plead a claim that

was previously dismissed without prejudice. Thus, there has been no prior failure to cure

deficiencies by previous proposed amendments, and the Court should freely grant leave to amend.
       E.      The Proposed Amendments Are Not Futile.
       Finally, Plaintiffs’ proposed amendments are not futile. The facts relevant to copyright

infringement merely reflect the factual record. The legal claims raise additional theories of

liability. Cf. Gardner v. Martino, 563 F.3d 981, 991–92 (9th Cir. 2009) (futile amendments are

those that offer no new sets of facts or legal theories, or fail to state cognizable claims).
                     1. Amendments to Conform to Proof
       The proposed TACC aligns the Complaint more closely with the evidence. First, Plaintiffs

propose revisions clarifying that their allegations encompass “all versions of Llama in any stage

of their development and lifecycle.” Proposed TACC ¶ 2. This revision is necessary because Meta

                                                              MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                              CASE NO. 3:23-cv-03417-VC
                                                   8
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 11 of 14
Case 3:23-cv-03417-VC   Document 300   Filed 11/27/24   Page 12 of 14
    Case 3:23-cv-03417-VC        Document 300         Filed 11/27/24     Page 13 of 14




Dated: November 27, 2024                        By: /s/ Joshua M. Stein____
                                                        Joshua M. Stein


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                                                        MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                        CASE NO. 3:23-cv-03417-VC
                                               11
      Case 3:23-cv-03417-VC         Document 300   Filed 11/27/24   Page 14 of 14



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                                                     MOTION FOR LEAVE TO AMEND COMPLAINT
                                                                     CASE NO. 3:23-cv-03417-VC
                                            12
